      Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 1 of 42




                        UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW MEXICO
_______________________________________
                                       )
UNITED STATES OF AMERICA,              )
and THE NEW MEXICO ENVIRONMENT )
DEPARTMENT,                            )
                                       )
            Plaintiffs,                )
                                       )
               v.                      ) Civil Action No.
                                       )
MEWBOURNE OIL COMPANY,                 )
                                       )
            Defendant.                 )
______________________________________ )


                                         COMPLAINT


       Plaintiffs, the United States of America, by authority of the Attorney General of the

United States and acting at the request of the Administrator of the United States Environmental

Protection Agency (“EPA”), and the New Mexico Environment Department (“NMED”), by

authority of the Attorney General of New Mexico, file this Complaint and allege as follows:

                                    NATURE OF ACTION

       1.     This is a civil action against Mewbourne Oil Company (“Mewbourne” or

“Defendant”) pursuant to the Clean Air Act (“CAA” or “Act”), 42 U.S.C. § 7401 et seq.; the

New Mexico Air Quality Control Act (“AQCA”), NMSA § 74-2-1 to -17; and the Texas Clean

Air Act (“TCAA”), Texas Health and Safety Code Chapter 382.

       2.     Plaintiffs seek injunctive relief and civil penalties under Section 113 of the CAA,

42 U.S.C. § 7413, Sections 74-2-12 and 74-2-12.1 of the AQCA, Sections 7.002, 7.032 and

7.105 of the Texas Water Code, based on alleged violations of the CAA and its implementing
       Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 2 of 42




regulations, the AQCA and its implementing regulations, and the TCAA and its implementing

regulations, arising from operations at Mewbourne’s oil and natural gas production systems in

Lea and Eddy Counties, New Mexico and Loving and Reeves Counties, Texas.

        3.      Plaintiffs allege, subject to a reasonable opportunity for further investigation and

discovery, that Mewbourne has violated and/or continues to violate the following federal and

state statutory or regulatory provisions in its oil and natural gas production activities, as set forth

in this Complaint:

             a. Section 111(e) of the CAA, 42 U.S.C. § 7411(e) and its implementing

                 regulations;

             b. The New Source Performance Standards (“NSPS”) for Crude Oil and Natural

                 Gas Production, Transmission and Distribution For Which Construction,

                 Modification or Reconstruction Commenced After August 23, 2011, and On or

                 Before September 18, 2015, 40 C.F.R. Part 60, Subpart OOOO (“NSPS Subpart

                 OOOO”);

             c. The NSPS for Crude Oil and Natural Gas Facilities for which Construction,

                 Modification, or Reconstruction Commenced after September 18, 2015, 40

                 C.F.R. Part 60, Subpart OOOOa (“NSPS Subpart OOOOa”);

             d. The operating permit requirements under Subchapter V of the CAA (“Title V”),

                 42 U.S.C. § 7661 et seq., which are implemented and administered by NMED

                 as codified in Part 20.2.70 of the New Mexico Administrative Code

                 (“NMAC”);




                                                   2
      Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 3 of 42




            e. The New Mexico State Implementation Plan (“New Mexico SIP”), including

                Section 74-2-7 of the AQCA and its implementing regulations at 20.2.72

                NMAC (Construction Permits) and 20.2.73 NMAC (Notices of Intent); and

            f. The Texas State Implementation Plan (“Texas SIP”), including TCEQ’s Permits

                by Rule (“PBR”) provisions at 30 Texas Administrative Code (“TAC”),

                Chapter 106.

       4.      Mewbourne’s failure to comply with the applicable requirements of the CAA and

its implementing regulations, the AQCA and its implementing regulations, and the TCAA and

its implementing regulations has resulted in unlawful excess emissions of volatile organic

compounds (“VOCs”) and oxides of nitrogen (“NOx”), precursors to ground-level ozone (often

referred to as “smog”), as well as carbon monoxide (“CO”). Ozone, NO x, and CO are all criteria

pollutants for which EPA has promulgated National Ambient Air Quality Standards

(“NAAQS”) due to the pollutants’ adverse effects on human health and the environment.

                                JURISDICTION AND VENUE

       5.      This Court has jurisdiction over the CAA claims pursuant to Section 113(b) of

the CAA, 42 U.S.C. § 7413(b), and pursuant to 28 U.S.C. §§ 1331, 1345, and 1355.

       6.      This Court has supplemental jurisdiction over NMED’s state law claims pursuant

to 28 U.S.C. § 1367 because those claims are so related to the claims in the United States’

action that they form part of the same case or controversy.

       7.      This Court has supplemental jurisdiction over the United States’ Texas state law

claims pursuant to 28 U.S.C. § 1367 because those claims are so related to the claims in the

United States’ action that they form part of the same case or controversy.




                                                3
       Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 4 of 42




          8.        Venue is proper in this District under Section 113(b) of the CAA, 42 U.S.C.

§ 7413(b), and 28 U.S.C. §§ 1391(b) and 1395(a), because a substantial number of the

violations that are the basis of this Complaint occurred at facilities Defendant owns and operates

in this District.

                                      AUTHORITY AND NOTICE

          9.        The Attorney General has authority to bring this action on behalf of the

Administrator of the EPA under 28 U.S.C. §§ 516, 519 and Section 305 of the CAA, 42 U.S.C.

§ 7605.

          10.       The New Mexico Attorney General has authority to bring this action on behalf of

the Secretary of NMED under Sections 74-2-12 and 74-2-12.1 of the AQCA.

          11.       The United States has authority to bring this action to enforce the regulations in

the Texas SIP under 42 U.S.C. § 7413(a)(2)(C).

          12.       Notice of the commencement of this action has been given to Mewbourne; to

NMED, the appropriate air pollution control agency in the State of New Mexico; and to TCEQ,

the appropriate air pollution control agency in the State of Texas, at least 30 days prior to the

filing of this Complaint pursuant to Section 113(a)(1) of the CAA, 42 U.S.C. § 7413(a)(1).

                                               DEFENDANT

          13.       Mewbourne is an oil and natural gas exploration and production company

incorporated in the State of Delaware, and registered to transact business as a Foreign Profit

Corporation in the State of New Mexico and the State of Texas.

          14.       Mewbourne’s corporate headquarters are located at 3901 S Broadway Avenue,

Tyler, Texas 75701.




                                                      4
      Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 5 of 42




       15.     Mewbourne is a “person” as defined in Section 302(e) of the CAA, 42 U.S.C.

§ 7602(e), Section 74-2-2(O) of the AQCA, and Section 382.003(10) of the TCAA.

                        CLEAN AIR ACT ENFORCEMENT HISTORY

       16.     On November 4, 2019, EPA issued a Notice and Finding of Violation to

Mewbourne pursuant to Section 113(a)(3) of the CAA, 42 U.S.C. § 7413(a)(3), citing violations

of the CAA, NSPS Subparts OOOO and OOOOa, the New Mexico SIP, and federal and New

Mexico Title V operating permit regulations at thirty-four oil and natural gas production

systems in New Mexico.

       17.     On November 4, 2019, NMED issued a Notice of Violation to Mewbourne

pursuant to Section 74-2-12 of the AQCA, citing violations of the CAA, NSPS Subparts OOOO

and OOOOa, the New Mexico SIP, and federal and New Mexico state Title V operating permit

regulations at thirty-four oil and natural gas production systems in New Mexico.

                                           FACILITIES

       18.     Mewbourne owns and operates hundreds of oil and natural gas production

facilities in the Permian Basin in both New Mexico and Texas. These facilities remove oil,

natural gas, and other liquids from subsurface rock formations; separate the natural gas from the

liquids; and then store the separated liquids in tanks until they are transported by pipeline or

picked up by truck for sale (produced oil) or disposal (saltwater or “produced water”). The

facilities that are the subject of this Complaint are identified in Appendix A to this Complaint.

       19.     At all relevant times, Mewbourne was and is the “owner and operator” of the

facilities listed in Appendix A to this Complaint within the meaning of Section 111(a)(5) of the

Act, 42 U.S.C. § 7411(a)(5).




                                                  5
      Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 6 of 42




                      Oil and Gas Production Operations at the Facilities

       20.     The facilities include wells that produce a mixture of oil, natural gas, and water.

This mixture flows up the well under pressure to the well-head at the surface and then to

separation equipment that, depending on the characteristics of the well mixture, consist of one

or more vessels, including a three-phase separator, heater-treater, and vapor recovery tower

(“VRT”). The separation equipment separates the effluent from the well into its constituent

parts: hydrocarbon liquids, natural gas, and produced water.

       21.     The separated natural gas is sent to a sales gas pipeline, if one is available, or

burned in a flare or other combustion device.

       22.     The oil and produced water, once separated from the natural gas, are temporarily

held under pressure in the separation equipment until the liquids reach a set volume level, at

which point valves open and the liquids flow into storage vessels, which are kept at or near

atmospheric pressure. These storage vessels are commonly referred to as storage tanks.

       23.     The produced water is ultimately transported away from the facility or recycled,

while the oil in the storage tanks is hauled or piped away for sale.

       24.     Larger skim storage vessels, known as “gun barrel” storage vessels, provide final

separation of oil and water. The gun barrel storage vessels are not equipped with pollution

controls.

                       Releases of VOCs and Managing Storage Tank Pressure

       25.     When oil is transferred from the separation equipment to a storage vessel, the

pressure of the oil drops and some of the hydrocarbons in the oil, including VOCs, methane, and

other pollutants such as toluene and benzene that are classified by EPA as hazardous air

pollutants (“HAP”), vaporize into a gaseous state. The liquids continue to emit vapors when



                                                  6
       Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 7 of 42




temperatures fluctuate in the storage vessels and when liquids are being loaded into or out of the

storage vessel. All of these emissions must be managed, both to prevent over-pressurization of

the storage vessel and to prevent the release of uncontrolled gases, including VOC, methane,

and HAP emissions, into the atmosphere.

       26.     Storage vessels are equipped with openings called “thief hatches” or “pressure

relief valves” (“PRVs”) that are designed to open (or “vent”) as needed to relieve pressure or

provide access to the tank contents, and to seal tightly when closed. Thief hatches and PRVs are

collectively known as pressure relief devices (“PRDs”). Generally, properly maintained PRDs

do not vent emissions to the atmosphere during normal operations, except when the PRD is

actively being used (for example, for tank gauging, inspections, and maintenance).

       27.     The storage vessels, control devices (e.g., flares), vent lines, and all connections,

fittings, PRDs, and any other appurtenances used to contain, collect, and convey vapors are

collectively known as the Vapor Control System (“VCS”). A well-maintained VCS captures and

routes vapors through a series of pipes or vent lines either to a flare or to a process through a

vapor recovery unit (“VRU”), where vapors are recycled or recovered.

       28.     Compressors are engine-driven equipment used to increase pressure and route

gas to the sales pipeline. Compressors are also used to facilitate removal of fluids from a well. A

VRU is also a type of compressor.

       29.     Mewbourne’s operations at the facilities that are the subject of this Complaint

have resulted in unlawful emissions of VOCs, NO x, and CO. An insufficiently designed or

poorly-maintained and operated VCS may result in the venting of VOC emissions during

normal operations. The combustion of produced natural gas at heater-treaters, compressors, and

flares results in emissions of NOx and CO.



                                                  7
      Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 8 of 42




                    STATUTORY AND REGULATORY BACKGROUND

       30.     As set forth in Section 101(b)(1) of the CAA, 42 U.S.C. § 7401(b)(1), the

purpose of the CAA is to protect and enhance the quality of the nation’s air resources so as to

promote the public health and welfare and the productive capacity of its population.

I. The Clean Air Act’s New Source Performance Standards

       31.     Section 111(b) of the CAA, 42 U.S.C. § 7411(b), authorizes the EPA to

promulgate standards of performance applicable to “new sources” within categories of sources

that cause or contribute significantly to “air pollution which may reasonably be anticipated to

endanger public health or welfare.” These regulations are referred to as New Source

Performance Standards (“NSPS”).

       32.     A “new source” is any stationary source, the construction or modification of

which is commenced after the promulgation of the standards of performance that will apply to

such source. 42 U.S.C. § 7411(a)(2). A “stationary source” is a building, structure, facility, or

installation that emits or may emit any air pollutant. 42 U.S.C. § 7411(a)(3).

       33.     In 1979, the EPA listed “Crude Oil and Natural Gas Production” as a source

category that contributes significantly to air pollution and for which standards of performance

would be established. 44 Fed. Reg. 49,222 (Aug. 21, 1979).

       34.     It is unlawful for owners or operators of any new source to violate any provision

of an NSPS applicable to such a source after it has become effective. 42 U.S.C. § 7411(e).

       35.     The EPA has delegated authority to New Mexico and Texas to implement and

enforce the NSPS in the respective States pursuant to Section 111(c) of the CAA, 42 U.S.C. §

7411(c). The NSPS regulations have been incorporated by reference into the New Mexico

regulations in the New Mexico Administrative Code and are federally enforceable. See NMAC



                                                 8
      Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 9 of 42




20.2.77.9; 40 C.F.R. §§ 60.4(b)(33); 60.4(e)(1). The NSPS regulations have also been

incorporated by reference into the Texas regulations in the Texas Administrative Code and are

federally enforceable. See 40 C.F.R. § 60.4(b)(45); 30 TAC § 101.20.

             A. 40 C.F.R. Part 60, NSPS Subparts OOOO and OOOOa

       36.     In 2012, the EPA promulgated NSPS regulations for the crude oil and natural gas

production, transmission, and distribution industry sector. 77 Fed. Reg. 49,542 (Aug. 16, 2012).

These standards are codified at 40 C.F.R. Part 60, Subpart OOOO (“NSPS Subpart OOOO”). 40

C.F.R. § 60.5360. NSPS Subpart OOOO applies to onshore affected facilities for which owners

or operators commence construction, modification, or reconstruction after August 23, 2011, and

on or before September 18, 2015. 40 C.F.R. § 60.5365.

       37.     In 2016, the EPA amended the 2012 NSPS and established new standards. 81

Fed. Reg. 35,898 (June 3, 2016). These new standards are codified at 40 C.F.R. Part 60, Subpart

OOOOa (“NSPS Subpart OOOOa”). 40 C.F.R. § 60.5360a. NSPS Subpart OOOOa applies to

affected facilities for which owners or operators commence construction, modification, or

reconstruction after September 18, 2015. 40 C.F.R. § 60.5365a.

       38.     NMED was delegated authority for NSPS Subpart OOOO effective April 3,

2015, and for NSPS Subpart OOOOa effective October 12, 2018, for the State of New Mexico.

See 80 Fed. Reg. 5475 (Feb. 2, 2015) and 83 Fed. Reg. 46107 (Sept. 12, 2018).

       39.     The State of Texas was delegated authority to implement and enforce all

previously adopted and all future NSPS programs as of the effective date of December 28, 1982.

See 48 Fed. Reg. 20,693 (May 9, 1983).

       40.     All of the facilities at issue in this Complaint either commenced construction,

modification or reconstruction after August 23, 2011 and on or before September 18, 2015, and



                                                9
      Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 10 of 42




thus are potentially subject to NSPS Subpart OOOO; or commenced construction, modification

or reconstruction after September 18, 2015 and thus are potentially subject to NSPS Subpart

OOOOa.

       41.     Among the affected facilities subject to NSPS Subparts OOOO or OOOOa are

“storage vessel affected facilities.” 40 C.F.R. §§ 60.5365(e); 60.5365a(e). A “storage vessel

affected facility” is a single storage vessel, as defined in 40 C.F.R. § 60.5430, with the potential

for VOC emissions equal to or greater than 6 tons per year (“tpy”) as determined according to

40 C.F.R. § 60.5365(e) or 40 C.F.R. § 60.5365a(e)(1).

       42.     NSPS Subpart OOOO and OOOOa require that “[a]t all times, including periods

of startup, shutdown, and malfunction, owners and operators shall maintain and operate any

affected facility including associated air pollution control equipment in a manner consistent

with good air pollution control practice for minimizing emissions.” 40 C.F.R. §§ 60.5370(b),

60.5370a(b).

       43.     Pursuant to Sections 60.5395(d) and 60.5395a(a)(2), owners and operators of

storage vessel affected facilities must reduce VOC emissions by 95.0 percent according to a

specified schedule.

       44.     Pursuant to Sections 60.5395(e) and 60.5395a(b), if the owner or operator of a

storage vessel affected facility uses a control device or routes emissions to a process to reduce

VOC emissions from a storage vessel affected facility pursuant to the 95 percent emissions

reduction requirement of § 60.5395(d)(1) or § 60.5395a(a), the owner or operator must equip

the storage vessel with a cover connected to a closed vent system and route emissions to a

control device or process, as required below:




                                                 10
      Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 11 of 42




             a. The cover shall meet the requirements of 40 C.F.R. §§ 60.5411(b) and

                60.5411a(b);

             b. The closed vent system shall meet the requirements of 40 C.F.R. §§ 60.5411(c),

                and 60.5411a(c) and 60.5411a(d); and,

             c. The control device shall meet the requirements of 40 C.F.R. §§ 60.5412(c) and

                60.5412(d), and 60.5412a(c) and 60.5412a(d).

       45.     Pursant to 40 C.F.R. §§ 60.5411(c)(3) and 60.5411a(c)(3), if the closed vent

system contains one or more bypass devices that could be used to divert all or a portion of gases

from entering the control device or process, the owner or operator must meet certain

requirements, such as utilizing a flow indicator at the inlet of the bypass device that sounds an

alarm or properly securing the bypass device inlet valve, except in certain circumstances.

       46.     Owners and operators of storage vessel affected facilities must demonstrate

initial compliance with standards as required by §§ 60.5410(h) - (i) and 60.5410a(h) - (i);

demonstrate continuous compliance with standards as required by §§ 60.5415(e)(3) and

60.5415a(e)(3); conduct an assessment that the closed vent system is of sufficient design and

capacity to ensure that all emissions from the storage vessel affected facility are routed to the

control device and that the control device is of sufficient design and capacity to accommodate

all emissions from the storage vessel affected facility as required by 40 C.F.R. § 60.5411a(d)(1);

and perform the required notification, recordkeeping, and reporting as required by §§ 60.5420

and 60.5420a. See 40 C.F.R. §§ 60.5395(d) and 60.5395a(d).




                                                 11
      Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 12 of 42




II. Clean Air Act Title V Operating Permit Requirements

       47.     Section 502 of the CAA establishes requirements for specified sources to obtain

operating permits (“Title V operating permits”), and sets forth the minimum elements for such

permits. 42 U.S.C. § 7661a.

       48.     Section 503(c) of the CAA, 42 U.S.C. § 7661b(c), sets forth the requirement to

submit a timely, accurate, and complete application for a Title V operating permit, and specifies

information required to be submitted with the application.

       49.     Section 504(a) of the CAA, 42 U.S.C. § 7661c(a), requires that each Title V

operating permit include enforceable emission limitations and standards, a schedule of

compliance, and other conditions necessary to assure compliance with applicable requirements,

including those contained in a SIP.

       50.     The CAA Title V operating permit program is implemented and administered by

the States. Accordingly, Section 502 of the CAA requires each State to develop and submit for

EPA approval a permit program meeting the requirements of Subchapter V of the CAA. 42

U.S.C. § 7661a.

       51.     Section 502(a) of the CAA, 42 U.S.C. § 7661a(a), and the implementing

regulations at 40 C.F.R. § 70.7(b) provide that, after the effective date of the state Title V permit

program, no person may violate any requirement of a Title V permit or operate a source subject

to a Title V permit except in compliance with a Title V permit.

       52.     EPA fully approved the New Mexico Title V operating permit program effective

as of January 27, 1997. 61 Fed. Reg. 60,032 (Nov. 26, 1996).

       53.     The New Mexico air quality regulations implementing the Title V operating

permit program are codified at 20.2.70 NMAC, but also remain federally enforceable.



                                                 12
      Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 13 of 42




       54.       20.2.70.7 NMAC defines “major source” as it is defined under Section 501 of the

CAA, 42 U.S.C. § 7661. All sources that meet the definition of “major source” must obtain an

operating permit. 20.2.70.200(A) NMAC.

III. National Ambient Air Quality Standards and State Implementation Plans (SIPs)

       55.       Section 108(a) of the CAA, 42 U.S.C. § 7408(a), directs the EPA to identify air

pollutants that “may reasonably be anticipated to endanger public health or welfare” and to

issue ambient air quality standards for these pollutants based on the latest scientific knowledge

about their effects on public health and the environment. These pollutants are known as “criteria

pollutants” and the established standards are known as National Ambient Air Quality Standards

“(“NAAQS”) for criteria pollutants. 42 U.S.C. § 7409.

       56.       Pursuant to Sections 108 and 109 of the CAA, 42 U.S.C. §§ 7408 and 7409, the

EPA has identified six criteria pollutants due to their adverse effects on human health and the

environment: ozone, NOx, sulfur dioxide, CO, particulate matter (10 microns or less and 2.5

microns or less), and lead. See 40 C.F.R. Part 50. Unlike the other criteria pollutants, ozone is

not directly emitted from sources of air pollution but instead is formed when certain chemicals

including VOCs and NOx (“ozone precursors”) react with oxygen in the presence of sunlight.

Thus, VOCs and NOx are subject to regulation as part of the NAAQS for ozone. 40 C.F.R. §§

50.6 to 50.11.

       57.       Following promulgation of new or revised NAAQS, EPA is required to designate

all areas within each state as in attainment, nonattainment, or unclassifiable for the standard

within two years. See 42 U.S.C. § 7407(d). If the concentrations of a criteria pollutant in a

geographic area meet or fall below the NAAQS, the area is designated as in “attainment” of the

standard. Areas that exceed the NAAQS are designated as “nonattainment” areas. Areas that do



                                                 13
      Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 14 of 42




not have monitoring data available are designated as “attainment/unclassifiable” or

“unclassifiable.”

       58.     Lea and Eddy Counties, New Mexico, and Reeves and Loving Counties, Texas,

where the relevant facilities owned and operated by Mewbourne are located, are currently

designated as in attainment of the NAAQS for all criteria pollutants. However, during the

timeframes relevant to this Complaint, air quality monitors in Lea and Eddy Counties registered

rising ozone concentrations that have exceeded 95 percent of the NAAQS for ozone.

IV. State Implementation Plans (SIPs)

       59.     Section 110(a) of the CAA, 42 U.S.C. § 7410(a), requires each state to adopt and

submit to EPA a plan that provides for implementation, maintenance, and enforcement for each

promulgated NAAQS in each air quality control region (or portion thereof). Each such plan,

known as a State Implementation Plan or SIP, must include enforceable emissions limitations

and other control measures as well as a permit program to ensure that NAAQS are achieved. 42

U.S.C. § 7410(a)(2)(A).

       60.     Pursuant to Section 113(a) and (b) of the CAA, 42 U.S.C. § 7413(a) and (b),

upon EPA approval, SIP requirements are federally enforceable. Under 40 C.F.R. § 52.23, any

permit limitation or condition contained within a permit issued under an EPA-approved

program that is incorporated in a SIP is a requirement of the SIP and is federally enforceable

under Section 113. Failure to comply with an EPA-approved SIP or a state permit issued as part

of an EPA-approved SIP is a violation of the implementation plan and subject to a federal

enforcement action. See 42 U.S.C. §§ 7413(a), (b); 40 C.F.R. § 52.23.




                                                14
      Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 15 of 42




             A. New Mexico SIP

       61.     The regulations that comprise the New Mexico SIP as approved by the EPA are

set forth in 40 C.F.R. § 52.1620(c). These regulations are codified at Title 20, Chapter 2 of the

NMAC.

                      20.2.73.200 NMAC – Notice of Intent Requirements

       62.     Pursuant to 20.2.73.200.A(1) and (2) NMAC, any owner or operator intending to

construct or modify a stationary source that has a potential emission rate greater than 10 tpy of

any regulated air contaminant is required to file a Notice of Intent (“NOI”) with NMED.

       63.     Pursuant to 20.2.73.200.A(4) NMAC, the NOI must be filed prior to the

commencement of construction. If a construction permit is required, construction or

modification cannot begin prior to the issuance of a permit under 20.2.72 NMAC. Alternatively,

if no permit is required, construction or modification cannot begin until NMED issues a written

determination that a permit is not required.

       64.     Pursuant to 20.2.73.200.B NMAC, NOIs must include a description of the new

facility or modification including all operations affecting air emissions; the nature and quantities

of any regulated air contaminants the new source or modification will emit; and a description of

any air pollution control device or method to be utilized.

                     20.2.72 NMAC – Construction Permit Requirements

       65.     Pursuant to 20.2.72.200.A NMAC, construction permits must be obtained from

NMED by any person constructing or modifying a stationary source which has a potential

emission rate greater than 10 pounds per hour or 25 tons per year of any regulated air

contaminant for which there is a National or New Mexico Ambient Air Quality Standard,

including CO and NOx.




                                                 15
       Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 16 of 42




        66.      All sources subject to Part 20.2.72 NMAC must file a construction permit

application prior to the commencement of construction, modification, or installation. No

construction, modification, or installation shall begin prior to the issuance of the permit,

regardless of the anticipated commencement date. 20.2.72.200.E NMAC.

        67.      Pursuant to 20.2.72.203 NMAC, any person seeking a construction permit must

file a written application with NMED, following the instructions on the forms furnished by

NMED, and the written application must contain the information specified in 20.2.72.203.A(1)-

(15) NMAC.

        68.      Construction permit applications must include all calculations and computations

of regulated air contaminants the source will emit; a process flow sheet and site diagram of all

components and locations of emissions to the atmosphere; a full description of the equipment to

be used for air pollution control; and a description of the equipment or methods proposed to be

used for emission measurement. 20.2.72.203.A(3), (7), and (9) NMAC.

              B. Texas SIP

        69.      The regulations that comprise the Texas SIP as approved by the EPA are set

forth in 40 C.F.R. § 52.2270(c). The Texas SIP regulations governing the control of air

pollution by permits for new construction and modification are codified at 30 TAC, Chapter

116.

        70.      Pursuant to 30 TAC § 116.14(2), an “oil and gas facility,” for the purposes of

standard permits in Subchapter F of 30 TAC, Chapter 116, is defined as a facility which handles

gases and liquids associated with the production, conditioning, processing, and pipeline transfer

of fluids found in geologic formations beneath the earth’s surface.




                                                 16
      Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 17 of 42




       71.      Pursuant to 30 TAC § 116.110(a), any person who plans to construct any new

facility or to engage in the modification of any existing facility which may emit air

contaminants into the air of the state of Texas, before any actual work is begun on the facility, is

required to:

       a.       obtain a permit under 30 TAC § 116.111;

       b.       satisfy the conditions of a standard permit under Subchapter F of 30 TAC,

                Chapter 116;

       c.       satisfy the conditions of a flexible permit under Subchapter G of 30 TAC, Chapter

                116;

       d.       satisfy the conditions of a PBR; or

       e.       satisfy the criteria for a de minimis facility or source under 30 TAC § 116.119.

                        30 TAC Chapter 106 – TCEQ Permits By Rule

       72.      30 TAC, Chapter 106 “applies to certain types of facilities or changes within

facilities . . . where construction is commenced on or after the effective date of the relevant

permit by rule.” 30 TAC § 106.2.

       73.      Pursuant to 30 TAC § 106.4(c), the emissions from the facility in question must

comply with all the rules and regulations of TCEQ and with the intent of the TCAA, including

protection of health and property of the public, and all emissions control equipment must be

maintained in good condition and operated properly during operation of the facility.

       74.      Pursuant to 30 TAC § 106.6(b), all representations concerning construction

plans, operating procedures, and maximum emissions rates in any certified registration under

this section become conditions upon which the facility permitted by rule must be constructed

and operated.




                                                 17
      Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 18 of 42




         75.   Pursuant to 30 TAC § 106.6(c), it is unlawful for any person to vary from such

representation referenced in § 106.6(b) if the change will cause a change in the method of

control of emissions, the character of the emissions, or will result in an increase in the discharge

of the various emissions, unless the certified registration is revised beforehand.

         76.   Pursuant to 30 TAC § 106.6(e)(2), certified registrations established on or after

November 15, 1996 shall be submitted no later than the date of operation.

V. Applicable Enforcement Provisions

         77.   Section 113 of the CAA, 42 U.S.C. § 7413, authorizes EPA to commence a civil

action for injunctive relief and/or civil penalties against any person who has violated any

requirement or prohibition of the CAA or regulations promulgated thereunder, or who has

violated any applicable permit or implementation plan, such as the Texas SIP or the New

Mexico SIP.

         78.   Any person, including an individual, corporation, or partnership, as defined in

CAA Section 302(e), 42 U.S.C. § 7602(e), who violates any requirement or prohibition in CAA

Subchapter I, Part A is subject to, among other things, a civil penalty of up to $37,500 per day

for each violation that occurred between January 13, 2009 and November 2, 2015, and $117,468

per day for violations that occurred after November 2, 2015, where penalties are assessed on or

after January 6, 2023. See CAA Section 113(b), 42 U.S.C. § 7413(b), as modified by the Federal

Civil Penalties Inflation Adjustment Act of 1990, 28 U.S.C. § 2461 note, as amended by the

Debt Collection Improvement Act of 1996, 31 U.S.C. § 3701 note, and most recently by the

Federal Civil Penalties Inflation Adjustment Act Improvements Act of 2015, Pub. L. No. 114–

74 § 701, 129 Stat. 584, 599–601; see 40 C.F.R. § 19.4, and 88 Fed. Reg. 986, 989 (Jan. 6,

2023).



                                                 18
      Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 19 of 42




        79.     Sections 74-2-12 and 74-2-12.1 of the AQCA authorize NMED to commence a

civil judicial action for appropriate relief, including civil penalties and injunctive relief, against

any person that has violated or is violating a requirement or prohibition of the AQCA, a

regulation promulgated pursuant to that Act, or a condition of a permit issued under that Act.

        80.     A person who violates a provision of the AQCA or a regulation, permit

condition, or emergency order adopted or issued pursuant to that Act may be assessed a civil

penalty not to exceed $15,000 for each violation for each day during any portion of which the

violation occurs. NMSA § 74-2-12.1.

                                    GENERAL ALLEGATIONS

I. New Mexico Facility Inspections

        81.     On April 16-18, 2019, EPA and NMED inspected 16 oil and natural gas

production facilities owned and operated by Mewbourne and located in New Mexico

(“Inspected Facilities”) using optical gas imaging technology (“OGI”) to detect VOC and other

hydrocarbons being emitted; a photoionization detector to detect and measure VOC

concentrations in the air; and olefactory, visual, and audio (“OVA”) methods.

        82.     Of the 16 Inspected Facilities, two were not operating: Forty Niner Ridge Unit

105H 106H Battery and Speedwagon 27 Fee Battery. At these facilities, Mewbourne reported

that the wells that produce oil into the storage vessels were not producing at the time of the

inspection, and the oil storage vessels did not contain oil during the inspections. At a third

facility, the Mad Dog 26 MD State Com 1H Battery Facility, pumps were transferring oil from

the oil storage vessels into the oil sales pipeline during the inspection. EPA and NMED did not

expect to observe emissions at these three facilities, as no emissions are expected from the oil




                                                   19
      Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 20 of 42




storage vessels’ PRDs if the wells are not producing oil into the storage vessels or during oil

transfers to the pipeline.

        83.     During the inspections of each of the 16 facilities, federal and state inspectors

observed and documented numerous indicia of unlawful emissions and evidence of violations of

the applicable state and federal regulations, including, but not limited to:

              a. At 11 of the Inspected Facilities, inspectors observed significant amounts of

                 VOC emissions from the PRDs on the storage vessel covers and/or from the

                 closed vent systems (i.e., thief hatches on oil and produced water storage vessel

                 covers and/or PRVs on the storage vessels’ closed vent systems).

              b. At 15 of the Inspected Facilities, inspectors observed bypass devices on the

                 storage vessels’ closed vent systems which would allow, or during the

                 inspection did allow, emissions from the oil and produced water storage vessels

                 to be vented to the atmosphere, bypassing the closed vent system, VRU, and

                 flare. Inspectors further observed that (1) none of the bypass devices included

                 any flow indicators or valves with car-seals or lock-and-key type configurations

                 at the inlets to the bypass devices; and (2) the bypass devices were not low leg

                 drains, high point bleeds, analyzer vents, open-ended valves or lines, or safety

                 devices.

              c. At 11 of the Inspected Facilities, inspectors observed significant amounts of

                 VOC emissions venting from the bypass devices. During venting from the

                 bypass devices, inspectors observed that no alarm or other remote notification

                 system that alarms to the nearest field office was used to notify Mewbourne




                                                  20
      Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 21 of 42




                personnel that the bypass devices had been initiated or were in use at any of the

                11 Inspected Facilities.

             d. At several of the Inspected Facilities, inspectors observed evidence of historical

                venting of emissions, such as pervasive staining on equipment, especially

                around the PRVs and thief hatches. In many instances, inspectors observed

                spilled oil residing inside the storage vessel containment areas.

             e. At six of the Inspected Facilities, inspectors observed the operation of

                emissions sources that Mewbourne had not identified to NMED in any NOI

                application.

II. Records Review for New Mexico Inspected Facilities

       84.     EPA also conducted a comprehensive review of documents submitted by

Mewbourne to EPA and NMED as well as public records to assess the applicability of NSPS

Subparts OOOO and OOOOa to the Inspected Facilities.

       85.     Based on this review of public and agency records, Plaintiffs determined that the

oil storage vessels at all 16 of the Inspected Facilities have per-vessel VOC emissions greater

than 6 tpy and satisfy other regulatory criteria, making such facilities “storage vessel affected

facilities” as that term is used in 40 C.F.R. Part 60, Subparts OOOO and OOOOa.

III. Flyover Surveillance

       86.     EPA periodically conducts helicopter surveillance of oil and gas operations in the

Permian Basin in New Mexico and Texas using OGI technology to detect hydrocarbon

emissions emanating from storage vessels and control devices.

       87.     In September and October 2019, EPA conducted helicopter flyovers and

observed unauthorized emissions emanating from 19 facilities owned and operated by



                                                 21
      Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 22 of 42




Mewbourne (“2019 Flyover Facilities”). Of these 19 2019 Flyover Facilities, 2 were among the

Inspected Facilities.

       88.       In August 2020, and again in October 2020, EPA conducted additional helicopter

flyovers and observed unauthorized emissions emanating from 53 facilities owned and operated

by Mewbourne (“2020 Flyover Facilities”). Of these 53 2020 Flyover Facilities, 2 were among

the Inspected Facilities and 8 were among the 2019 Flyover Facilities.

IV. Information Request

       89.       On November 4, 2019, the EPA requested additional information from

Mewbourne, pursuant to Section 114 of the CAA, 42 U.S.C. §7414, pertaining to all of

Mewbourne’s facilities in New Mexico.

       90.       On January 7, 2020 and February 6, 2020, Mewbourne provided responsive

information to the EPA as to the facilities in New Mexico (“114 Responses”). Mewbourne’s

114 Responses included daily oil production data, daily throughput data for the oil and produced

water tanks, records of NOI submittals and emissions estimates for the Inspected Facilities,

monthly and semiannual equipment inspection records, information regarding the use of bypass

devices, and VRU and flare equipment maintenance and repair invoices.

       91.       On the basis of the information provided in the 114 Responses, Plaintiffs

estimated storage vessel-specific and site-wide annual emissions of VOC, NO x, and CO for each

of the Inspected Facilities and the Flyover Facilities. Plaintiffs compared these estimates to the

potentially applicable regulatory requirements under both Federal and state law and determined

the following:

             a. the oil storage vessels located at each of the 2019 Flyover Facilities and the

                  2020 Flyover Facilities have per-vessel VOC emissions greater than 6 tpy and



                                                 22
      Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 23 of 42




                satisfy other regulatory criteria, making such facilities “storage vessel affected

                facilities” as that term is used in 40 C.F.R. Part 60, Subparts OOOO and

                OOOOa;

             b. certain of the Inspected and Flyover Facilities in New Mexico for which

                Mewbourne had neither submitted an individual construction permit application

                nor registered for a General Construction Permit (“GCP”) had facility-wide

                emissions of NOx or CO greater than 25 tpy or VOC emissions greater than 100

                tpy, making such facilities subject to the construction permit requirements in

                20.2.72 NMAC;

             c. certain of the Inspected and Flyover Facilities in New Mexico for which

                Mewbourne had not applied for an operating permit had facility-wide emissions

                of CO, NOx, or VOC in excess of 100 tpy, making such facilities subject to the

                operating permit requirements at 20.2.70 NMAC.

V. Permit Status for Texas Facilities

       92.     At the time of EPA’s 2019 and 2020 helicopter flyovers, the seven oil and

natural gas production facilities identified in Table 1 were subject to the conditions of the Oil

and Gas Handling and Production Facility Permit by Rule (30 TAC § 106.352) (“PBR”),

according to permit registration forms submitted by Mewbourne to TCEQ after the flyover

occurred.

       93.     Table 1 lists for each Texas flyover facility the well completion date and the date

Mewbourne certified its PBR registration submittals to TCEQ.




                                                 23
      Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 24 of 42




                Table 1: Permit Information for Texas Facilities

                                       Well Completion      PBR Certification
           Facility Name
                                            Date                 Date

 Kentzel State 42 SL                  7/14/2016             1/24/2020

 TXL 19 H301DM Battery                7/10/2017             3/24/2020
 TXL 31 H301PA Battery                12/30/2016            1/23/2020
 TXL 41 B201DM Battery                9/29/2015             3/24/2020
 TXL SOUTH 56-T2-2X11                 6/20/2017             5/19/2020
 W101DE Battery
 TXL 37 W201PA Battery                10/15/2015            5/19/2020
 Kentzel State 42 W101BO              6/28/2019-4/6/2020    1/23/2020
       94.     In the PBR registration forms submitted to TCEQ for each of the Texas facilities

listed in Table 1, Mewbourne represented that: emissions from storage tanks are routed through

a VRU or to a flare for destruction; emissions from gun barrel separators (where present) are

routed through the VRU with a flare backup; and gas can be routed to an emergency flare for

destruction in the event of an upset to the sales gas system. These representations were

inconsistent with EPA’s observations during the 2019 and 2020 flyovers.

                                      CLAIMS FOR RELIEF

  Claim 1: Violations of NSPS Subparts OOOO and OOOOa in the State of New Mexico

       95.     Paragraphs 1 through 94 are incorporated herein by reference.

       96.     The storage vessels at the facilities listed in Appendix 1 and potentially other

storage vessels (subject to a reasonable opportunity for further investigation and discovery) are

storage vessel affected facilities as that term is defined in NSPS Subparts OOOO or OOOOa.

       97.     Dating from at least the date of inspection and, subject to a reasonable

opportunity for further investigation and discovery, continuing thereafter, Mewbourne violated

one or more of the following provisions in NSPS Subparts OOOO or OOOOa, as applicable, at

each of the facilities listed in Appendix 1:


                                                  24
      Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 25 of 42




             a. the cover requirements of 40 C.F.R. §§ 60.5411(b) or 60.5411a(b);

             b. the closed vent system requirements of 40 C.F.R. §§ 60.5411(c) or 60.5411a(c)-

                 (d);

             c. the VOC standards for storage vessel affected facilities at 40 C.F.R. §

                 60.5395(d)(1) and (e)(1) or 40 C.F.R. § 60.5395a(a)(2) and (b)(1);

             d. the continuous compliance requirements of 40 C.F.R. §§ 60.5395(g)(2) and

                 60.5415(e)(3) or 40 C.F.R. §§ 60.5395a(d)(2) and 60.5415a(e)(3);

             e. the OVA inspection requirements for closed vent systems and covers at 40

                 C.F.R. §§ 60.5416(c)(1) and (2) or 60.5416a(c)(1) and (2);

             f. the emissions determination requirement at 40 C.F.R. §§ 60.5365(e) or

                 60.5365a(e);

             g. the recordkeeping requirements at 40 C.F.R. § 60.5420a(c)(15)(i)-(iii) for

                 fugitive emissions components at a well site;

             h. the annual reporting requirements at 40 C.F.R. § 60.5420(b)(1) and (6) or 40

                 C.F.R. § 60.5420a(b)(1) and (6); and

             i. the good air pollution control practice requirement at 40 C.F.R. §§ 60.5370(b)

                 or 60.5370a(b).

       98.     Each of the violations alleged in Paragraph 97 is a violation of Section 111(e) of

the CAA, 42 U.S.C. § 7411(e).

       99.     Pursuant to Section 113(b) of the CAA, 42 U.S.C. § 7413(b), Mewbourne is

liable for injunctive relief and civil penalties of up to $37,500 per day for each violation that

occurred between January 13, 2009 and November 2, 2015, and $117,468 per day for each

violation occurring after November 2, 2015, pursuant to the Federal Civil Penalties Inflation



                                                  25
      Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 26 of 42




Adjustment Act of 1990, 28 U.S.C. § 2461 note, as amended by 31 U.S.C. § 3701 note, 129

Stat. 584, 599–601; 40 C.F.R. § 19.4, and 88 Fed. Reg. 986, 989 (Jan. 6, 2023).

       100.    Pursuant to Section 74-2-12.1(A) of the AQCA, Mewbourne is liable for civil

penalties of up to $15,000 per day for each violation.

                           Claim 2: Failure to Submit NOI to NMED

       101.    Paragraphs 1 through 94 are incorporated herein by reference.

       102.    The facilities listed in Appendix 2 have potential emission rates of VOC greater

than 10 tpy, requiring them to file an NOI with NMED prior to the commencement of

construction pursuant to 20.2.73.200 NMAC.

       103.    For each of the facilities listed in Appendix 2, dating from the start of

construction and, subject to a reasonable opportunity for further investigation and discovery,

continuing thereafter, Mewbourne failed to submit an NOI, failed to submit an NOI prior to the

start of construction, and/or failed to submit an NOI in a manner that reflects all emissions

sources, in violation of 20.2.73.200.A(1) and (4) NMAC and 20.2.73.200.B NMAC.

       104.    Pursuant to Section 113(b) of the CAA, 42 U.S.C. § 7413(b), Mewbourne is

liable for injunctive relief and civil penalties of up to $37,500 per day for each violation that

occurred between January 13, 2009 and November 2, 2015, and $117,468 per day for each

violation occurring after November 2, 2015, pursuant to the Federal Civil Penalties Inflation

Adjustment Act of 1990, 28 U.S.C. § 2461 note, as amended by 31 U.S.C. § 3701 note, 129

Stat. 584, 599–601; 40 C.F.R. § 19.4, and 88 Fed. Reg. 986, 989 (Jan. 6, 2023).

       105.    Pursuant to Section 74-2-12.1(A) of the AQCA, Mewbourne is liable for civil

penalties of up to $15,000 per day for each violation.

                        Claim 3: Failure to Obtain Construction Permit

       106.    Paragraphs 1 through 94 are incorporated herein by reference.

                                                  26
      Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 27 of 42




       107.    The facilities listed in Appendix 3 have potential emission rates of NO x or CO

greater than 25 tpy or 10 lb/hour, requiring them to obtain a construction permit pursuant to

20.2.72 NMAC. 20.2.72.200.A(1) NMAC.

       108.    For each of the facilities listed in Appendix 3, dating from the start of

construction and, subject to a reasonable opportunity for further investigation and discovery,

continuing thereafter, Mewbourne failed to obtain a construction permit prior to construction

and/or failed to obtain a construction permit that reflects all emissions sources, in violation of

20.2.72.200.A and E, and 20.2.72.203.A NMAC.

       109.    Pursuant to Section 113(b) of the CAA, 42 U.S.C. § 7413(b), Mewbourne is

liable for injunctive relief and civil penalties of up to $37,500 per day for each violation that

occurred between January 13, 2009 and November 2, 2015, and $117,468 per day for each

violation occurring after November 2, 2015, pursuant to the Federal Civil Penalties Inflation

Adjustment Act of 1990, 28 U.S.C. § 2461 note, as amended by 31 U.S.C. § 3701 note, 129

Stat. 584, 599–601; 40 C.F.R. § 19.4, and 88 Fed. Reg. 986, 989 (Jan. 6, 2023).

       110.    Pursuant to Section 74-2-12.1(A) of the AQCA, Mewbourne is liable for civil

penalties of up to $15,000 per day for each violation.

Claim 4: Failure to Obtain NMED Title V Operating Permit for Major Sources Subject to
                     40 C.F.R. Part 60, Subparts OOOO or OOOOa

       111.    Paragraphs 1 through 94 are incorporated herein by reference.

       112.    The storage vessels at the facilities listed in Appendix 4 have a potential to emit

at least 100 tpy of VOC, NOx, or CO and are “major sources,” as defined under Section 501 of

the CAA, 42 U.S.C. § 7661, and 20.2.70.7.R NMAC, requiring them to obtain an operating

permit under 20.2.70 NMAC.




                                                  27
      Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 28 of 42




       113.    For each of the facilities listed in Appendix 4, dating from the start of

construction and, subject to a reasonable opportunity for further investigation and discovery,

continuing thereafter, Mewbourne failed to submit an application for an operating permit within

twelve months of the commencement of operation as a major source, in violation of

20.2.70.200(A) and 20.2.70.201(A) NMAC.

       114.    Pursuant to Section 113(b) of the CAA, 42 U.S.C. § 7413(b), Mewbourne is

liable for injunctive relief and civil penalties of up to $37,500 per day for each violation that

occurred between January 13, 2009 and November 2, 2015, and $117,468 per day for each

violation occurring after November 2, 2015, pursuant to the Federal Civil Penalties Inflation

Adjustment Act of 1990, 28 U.S.C. § 2461 note, as amended by 31 U.S.C. § 3701 note, 129

Stat. 584, 599–601; 40 C.F.R. § 19.4, and 88 Fed. Reg. 986, 989 (Jan. 6, 2023).

       115.    Pursuant to Section 74-2-12.1(A) of the AQCA, Mewbourne is liable for civil

penalties of up to $15,000 per day for each violation.

               Claim 5: Failure to Timely Submit Certified PBR Registrations

       116.    Paragraphs 1 through 94 are incorporated herein by reference.

       117.    The facilities listed in Appendix 5 have potential emissions rates of NO x or CO

less than 25 tpy, requiring them to obtain a PBR. See 30 TAC §§ 106.4, 122.122.

       118.    For each of the facilities listed in Appendix 5, dating from the start of

construction and, subject to a reasonable opportunity for further investigation and discovery,

continuing thereafter, Mewbourne failed to submit certified PBR registrations by the date of

operation, in violation of 30 TAC § 106.6(e)(2).

       119.    Pursuant to Section 113(b) of the CAA, 42 U.S.C. § 7413(b), Mewbourne is

liable for injunctive relief and civil penalties of up to $37,500 per day for each violation that

occurred between January 13, 2009 and November 2, 2015, and $117,468 per day for each

                                                  28
      Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 29 of 42




violation occurring after November 2, 2015, pursuant to the Federal Civil Penalties Inflation

Adjustment Act of 1990, 28 U.S.C. § 2461 note, as amended by 31 U.S.C. § 3701 note, 129

Stat. 584, 599–601; 40 C.F.R. § 19.4, and 88 Fed. Reg. 986, 989 (Jan. 6, 2023).

    Claim 6: Failure to Comply with PBR Representations and Failure to Maintain and
               Operate Emissions Control Equipment in the State of Texas

       120.    Paragraphs 1 through 94 are incorporated herein by reference.

       121.    The facilities listed in Appendix 6 have potential emissions rates of NO x or CO

less than 25 tpy, requiring them to obtain a PBR. See 30 TAC §§ 106.4, 122.122.

       122.    For each of the facilities listed in Appendix 6, dating from at least the date of

flyover and, subject to a reasonable opportunity for further investigation and discovery,

continuing thereafter, Mewbourne failed to adhere to the representations made under each

facility’s PBR with respect to capturing and routing emissions to a control device or VRU, in

violation of 30 TAC § 106.6(b) and (c), and failed to maintain in good condition and properly

operate all emissions control equipment during operation of the facility, in violation of 30 TAC

§ 106.4(c).

       123.    Pursuant to Section 113(b) of the CAA, 42 U.S.C. § 7413(b), Mewbourne is

liable for injunctive relief and civil penalties of up to $37,500 per day for each violation that

occurred between January 13, 2009 and November 2, 2015, and $117,468 per day for each

violation occurring after November 2, 2015, pursuant to the Federal Civil Penalties Inflation

Adjustment Act of 1990, 28 U.S.C. § 2461 note, as amended by 31 U.S.C. § 3701 note, 129

Stat. 584, 599–601; 40 C.F.R. § 19.4, and 88 Fed. Reg. 986, 989 (Jan. 6, 2023).

              Claim 7: Violations of NSPS Subpart OOOOa in the State of Texas

       124.    Paragraphs 1 through 94 are incorporated herein by reference.




                                                  29
      Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 30 of 42




       125.      The storage vessels at the facilities listed in Appendix 7 and potentially other

storage vessels (subject to a reasonable opportunity for further investigation and discovery) are

storage vessel affected facilities as that term is defined in NSPS Subpart OOOOa.

       126.      Dating from at least the date of inspection and, subject to a reasonable

opportunity for further investigation and discovery, continuing thereafter, Mewbourne violated

one or more of the following provisions in NSPS Subpart OOOOa at each of the facilities listed

in Appendix 7:

              a. the cover requirements of 40 C.F.R. § 60.5411a(b);

              b. the closed vent system requirements of 40 C.F.R. § 60.5411a(c);

              c. the VOC standards for storage vessel affected facilities at 40 C.F.R. §

                  60.5395a(a)(2) and (b)(1);

              d. the continuous compliance requirements of 40 C.F.R. §§ 60.5395a(d)(2) and

                  60.5415a(e)(3); and

              e. the good air pollution control practice requirement at 40 C.F.R. § 60.5370a(b).

       127.      Pursuant to Section 113(b) of the CAA, 42 U.S.C. § 7413(b), Mewbourne is

liable for injunctive relief and civil penalties of up to $37,500 per day for each violation that

occurred between January 13, 2009 and November 2, 2015, and $117,468 per day for each

violation occurring after November 2, 2015, pursuant to the Federal Civil Penalties Inflation

Adjustment Act of 1990, 28 U.S.C. § 2461 note, as amended by 31 U.S.C. § 3701 note, 129

Stat. 584, 599–601; 40 C.F.R. § 19.4, and 88 Fed. Reg. 986, 989 (Jan. 6, 2023).

                                        PRAYER FOR RELIEF

       WHEREFORE, based on the above allegations, Plaintiffs request that this Court:




                                                  30
      Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 31 of 42




       A.      Permanently enjoin Defendant from further violating the CAA, the AQCA, the

TCAA, the regulations implementing those statutes, and all applicable permits;

       B.      Order Defendant to take appropriate actions to remedy, mitigate, and offset the

harm to public health and the environment caused by the violations of the CAA, the AQCA, the

TCAA, regulations implementing those statutes, and all applicable permits;

       C.      Assess a civil penalty against Defendant for each violation of the CAA, its

implementing regulations, the New Mexico SIP, the Texas SIP, and the applicable federally

enforceable permits of up to $37,500 per day for each violation occurring prior to November 2,

2015, and up to $117,468 per day for each violation occurring on or after November 2, 2015;

       D.      Assess a civil penalty against Defendant for each violation of the AQCA, its

implementing regulations, and all applicable state-issued permits of up to $15,000 per day for

each violation; and

       E.      Grant such other and further relief as the Court deems just and proper.




                                     Respectfully submitted,

                                     TODD KIM
                                     Assistant Attorney General
                                     Environment and Natural Resources Division
                                     United States Department of Justice




                                     NICOLE VEILLEUX
                                     Senior Counsel
                                     Environmental Enforcement Section
                                     Environment and Natural Resources Division
                                     United States Department of Justice
                                     P.O. Box 7611, Benjamin Franklin Station
                                     Washington, DC 20044-7611


                                                31
     Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 32 of 42




                                   (202) 616-8746
                                   nicole.veilleux@usdoj.gov


                                   ALEXANDER M.M. UBALLEZ
                                   United States Attorney


                                   RUTH F. KEEGAN
                                   Assistant United States Attorney
                                   District of New Mexico
                                   P.O. Box 607
                                   Albuquerque, NM 87103
                                   Phone: 505-224-1470
                                   Mobile: 505-206-4197
                                   Fax: 505-346-7296
                                   Ruth.F.Keegan@usdoj.gov

OF COUNSEL:

JENNIFER LEE
Attorney Advisor, Air Enforcement Division
Office of Civil Enforcement
U.S. Environmental Protection Agency,
1200 Pennsylvania Avenue, N.W.
Washington, D.C. 20460
lee.jennifer@epa.gov

ALEXANDREA ROLAND
Assistant Regional Counsel
Office of Regional Counsel
U.S. Environmental Protection Agency, Region 6
1201 Elm Street
Dallas, TX 75270
(214) 665-2753
roland.alexandrea@epa.gov




                                             32
Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 33 of 42
Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 34 of 42
     Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 35 of 42



Black Lake 7 CN State Com #002H
ARMSTRONG 26 23 W1EE FEDERAL COM #001H
DEVON 8 W2PM FEE #1H OIL MT
GOOSE 29/28 W2BA ST COM #1H OIL MT
ROCK SPUR 27 W2AP STATE #1H OIL MT
VIPER 29 32 WOLM FED COM #1H OIL MT
PADUCA 7/6 A2ED FED COM #1H OIL MSTR
DELAWARE RANCH 14 B2BO FEE #1H OIL MT
RED HILLS WEST UNIT #007H OIL MT
ANNABELLE 18/13 W2PO FED COM #1H OIL MT
BIG SINKS 1 W1PA FED COM #2H OIL MT
BIRDDOG 20/17 B2ED ST COM #1H OIL MT
DELAWARE RANCH 11 W2NC FEE #1H OIL MT
DERRINGER 18 B2MP FED #1H OIL MT
Fuller 14 23 W1IP and 14 11 W1HA Battery
FULLER 14/23 B2LM FED COM #1H OIL MT
FULLER 14/23 W2LM FED COM #2H OIL MT
GAZELLE 22 B3MD FED COM #1H OIL MT
LA TRUCHA 6 B1CV ST COM 1H OIL MT
RED HILLS WEST UNIT #008H OIL MT
SLIDER 18 WOMD FED COM #1H OIL MT
SPEEDWAGON 27 W2DM FEE #1H OIL MT
WILD TURKEY 36/35 B2AB ST COM 1H OIL MT
MAD DOG 35 CN ST COM #1H OIL MT
FULLER 13/24 BATTERY OIL MT
SALADO DRAW 10 A3PA FED #2H OIL MT
SALADO DRAW 9 AP FEDERAL COM #001H
STYX 17 W2PA FEE COM #1H OIL MT
ZEPPELIN 32 W0LI ST COM #1H OIL MT
YARDBIRDS 3 W2DM FEE #1H OIL MT
Red Hills West 21 W1DM Federal Com 003H
WEST LOVING 12 W2EH STATE COM 1H OIL MT
DEVON 6 W2AD FEE #1H OIL MT
CREEDENCE 21 16 & KANSAS 28 33 BATTERY
JOURNEY 12 B2MP FEE #001H
FORTY NINER RIDGE UNIT #102
Fuller 14 23 B2IP Federal #002H
COMMODORE 30 W2PA FED COM #1H OIL MT
Coltrane 36 25 W0PI Federal Com #001H
ANNABELLE 13/18 W2BA FED COM #1H OIL MT
ARMSTRONG 26/35 W0LM FED COM #1H OIL MT
CHICAGO 9/8 W0HE FEE COM #1H OIL MT
BOSTON 7 W0LI FEE #1H OIL MT


                                           35
Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 36 of 42
   Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 37 of 42



Jennings 34 W1MD Fed Com 1H Battery
Lindale 24-25 W1AH Fed 1H 2H Battery
SALADO DRAW 10 W1PA FED COM #2H OIL MT
BILBREY 34/27 B2NC FED COM #1H OIL MT
VIRGO 24/23 B2AD FED COM #1H OIL MT
ROSCOE 6 B3AD FED COM #1H OIL MT
BOSTON 7 W2MP FEE #1H OIL MT
ROCK SPUR 27 W2CN STATE COM #1H OIL MT
HOLLYWOOD 28/33 W2IP FED COM #1H OIL MT
South Loving 2 11 W0DE State Com 001H
JOURNEY 12 W0MP FEE COM #3H OIL MT
Jennings 27 W0AP Fed Com 3H Oil MT Battery
BLACK LAKE 5 PA STATE COM 001H
SKEEN 21 STATE COM 002H
LAYLA 35 MD FEE COM 001H
FLEETWOOD 36 25 W2ML STATE COM 002H
BUFFALO TRACE 1 36 W1PA FEDERAL COM 002H
OWL DRAW 27 22 B2NC FEDERAL COM #001H
OWL DRAW 22 W1AP FED COM #1H OIL MT
Red Hills West 22 Federal Com 001
STERLING POUND 20/29 W2DE ST #1 OIL MT
WOLFMAN 5/4 W0LI FED COM #1H OIL MT
GHOSTRIDER 25/36 W0AP FED COM 1H OIL MT
GHOSTRIDER 25/36 WODM FED COM #2H OIL MT
MOTLEY 6/7 W2DE FED COM #1H OIL MT
Black Lake 7 CN State Com #002H
ARMSTRONG 26 23 W1EE FEDERAL COM #001H
DEVON 8 W2PM FEE #1H OIL MT
GOOSE 29/28 W2BA ST COM #1H OIL MT
ROCK SPUR 27 W2AP STATE #1H OIL MT
VIPER 29 32 WOLM FED COM #1H OIL MT
PADUCA 7/6 A2ED FED COM #1H OIL MSTR
DELAWARE RANCH 14 B2BO FEE #1H OIL MT
RED HILLS WEST UNIT #007H OIL MT
ANNABELLE 18/13 W2PO FED COM #1H OIL MT
BIG SINKS 1 W1PA FED COM #2H OIL MT
BIRDDOG 20/17 B2ED ST COM #1H OIL MT
DELAWARE RANCH 11 W2NC FEE #1H OIL MT
DERRINGER 18 B2MP FED #1H OIL MT
Fuller 14 23 W1IP and 14 11 W1HA Battery
FULLER 14/23 B2LM FED COM #1H OIL MT
FULLER 14/23 W2LM FED COM #2H OIL MT
GAZELLE 22 B3MD FED COM #1H OIL MT


                                             37
Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 38 of 42
      Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 39 of 42



 BIRDDOG 20/17 B2ED ST COM #1H OIL MT
 DELAWARE RANCH 11 W2NC FEE #1H OIL MT
 DERRINGER 18 B2MP FED #1H OIL MT
 Fuller 14 23 W1IP and 14 11 W1HA Battery
 FULLER 14/23 B2LM FED COM #1H OIL MT
 FULLER 14/23 W2LM FED COM #2H OIL MT
 GAZELLE 22 B3MD FED COM #1H OIL MT
 LA TRUCHA 6 B1CV ST COM 1H OIL MT
 RED HILLS WEST UNIT #008H OIL MT
 SLIDER 18 WOMD FED COM #1H OIL MT
 SPEEDWAGON 27 W2DM FEE #1H OIL MT
 WILD TURKEY 36/35 B2AB ST COM 1H OIL MT
 MAD DOG 35 CN ST COM #1H OIL MT
 STYX 17 W2PA FEE COM #1H OIL MT
 ZEPPELIN 32 W0LI ST COM #1H OIL MT
 YARDBIRDS 3 W2DM FEE #1H OIL MT
 Red Hills West 21 W1DM Federal Com 003H
 WEST LOVING 12 W2EH STATE COM 1H OIL MT
 DEVON 6 W2AD FEE #1H OIL MT
 CREEDENCE 21 16 & KANSAS 28 33 BATTERY
 JOURNEY 12 B2MP FEE #001H
 FORTY NINER RIDGE UNIT #102
 Fuller 14 23 B2IP Federal #002H
 COMMODORE 30 W2PA FED COM #1H OIL MT
 Coltrane 36 25 W0PI Federal Com #001H
 ANNABELLE 13/18 W2BA FED COM #1H OIL MT
 ARMSTRONG 26/35 W0LM FED COM #1H OIL MT
 CHICAGO 9/8 W0HE FEE COM #1H OIL MT
 BOSTON 7 W0LI FEE #1H OIL MT
 CAPER 20/29 B2CN FED COM #1H OIL MT
 CAST AWAY 6 B2BW ST COM UNIT 1H OIL MT
 EL NINO 13 B3DM ST COM #1H OIL MT
 FOREIGNER 33/4 W2JO FEE #1H OIL MT
 GLOCK 16 B2AD FED #1H OIL MT
 IBEX 10 B3NC FED COM #1H OIL MT
 IBEX 10 B3OB FED COM #1H OIL MT
 OXBOW 26/25 W1DA FED COM #1H OIL MT
 PRINCE 31 W0DA FED COM #1H OIL MT
 PRONGHORN 15 B3BO FED COM #1H OIL MT
 RED HILLS WEST UNIT #018H OIL MT
 SUMIDEROS 12 W1PA FED COM #1H OIL MT

TOTAL 68



                                            39
Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 40 of 42
Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 41 of 42
Case 1:23-cv-00654-KRS-JMR Document 1 Filed 08/08/23 Page 42 of 42
